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 17

 18                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 19
                         WESTERN DIVISION – LOS ANGELES
 20
      Frankel, et al.,                     Case No. 2:24-CV-4702-MCS
 21
                         Plaintiffs,       PARTIES’ STIPULATION
 22                                        CONTINUING THE HEARING ON
             v.                            PLAINTIFFS’ MOTION FOR A
 23                                        PRELIMINARY INJUNCTION;
      Regents of the University of         BRIEFING SCHEDULE STIPULATED
 24   California, et al.,                  PER LOCAL CIVIL RULES AND
 25                                        INITIAL STANDING ORDER
                         Defendants.
 26                                        PROPOSED ORDER FILED
                                           CURRENTLY HEREWITH
 27                                        Judge:     Hon. Mark C. Scarsi
 28                                        Courtroom: 7C
                                                             PARTIES’ STIPULATION TO
                                                            CONTINUANCE OF HEARING
                                                             CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 51 Filed 06/27/24 Page 2 of 6 Page ID #:711



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 16   *admitted pro hac vice

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                                                             PARTIES’ STIPULATION TO
                                               2            CONTINUANCE OF HEARING
                                                             CASE NO. 2:24-CV-4702-MCS
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  1   TO THE COURT:
  2         Plaintiffs Yitzchok Frankel; Joshua Ghayoum; and Eden Shemuelian
  3   (“Plaintiffs”) and Defendants The Regents of the University of California; Michael
  4   V. Drake; Gene D. Block; Darnell Hunt; Michael Beck; Monroe Gorden, Jr.; and
  5   Rick Braziel (“Defendants”) (collectively, the “Parties”) hereby submit the
  6   following Stipulation to Continue the Hearing on Plaintiffs’ Motion for a
  7   Preliminary Injunction (ECF No. 48) (“the Motion”) currently noticed for July 22,
  8   2024, along with a Proposed Order filed herewith;
  9         WHEREAS, on June 5, 2024, Plaintiffs filed the Complaint in the above-
 10   captioned action (ECF No. 1);
 11         WHEREAS, on June 17, 2024, Defendants retained O’Melveny & Myers,
 12   LLP as counsel in this action, see Decl. of Matthew R. Cowan (“Cowan Decl.”) ¶ 3;
 13         WHEREAS, on June 24, 2024, Plaintiffs filed the Motion seeking injunctive
 14   relief by August 15, 2024 (ECF No. 48);
 15         WHEREAS, under Local Civil Rule 7-9 and this Court’s Initial Standing
 16   Order, Defendants’ Opposition to Plaintiffs’ Motion is currently due on July 1,
 17   2024, which provides Defendants with seven days to draft and file their opposition;
 18         WHEREAS, on June 25, 2024, counsel for Defendants contacted counsel for
 19   Plaintiffs seeking consent to an intended three-week motion for extension of time to
 20   file their opposition in order to have time to adequately investigate and respond to
 21   the factual allegations submitted with Plaintiffs’ Motion, which includes four
 22   declarations and 70 exhibits, totaling 346 pages, see Cowan Decl. ¶ 6;
 23         WHEREAS, on June 26, 2024, the Parties agreed to stipulate to a
 24   continuance of the Hearing on Plaintiffs’ Motion to July 29, 2024 to accommodate
 25   Defendants, Cowan Decl. ¶ 7;
 26         WHEREAS, the Parties further agreed to stipulate to a briefing schedule
 27   based on the new July 29, 2024 hearing date and consistent with the Local Civil
 28   Rule 7-11 and the Court’s Initial Standing Order, Cowan Decl. ¶ 8;
                                                                    PARTIES’ STIPULATION TO
                                                3                  CONTINUANCE OF HEARING
                                                                    CASE NO. 2:24-CV-4702-MCS
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  1           WHEREAS, the Parties therefore stipulate to the new hearing date and
  2   briefing schedule below:
  3
       July 8, 2024           Defendants’ Opposition to the Motion due
  4
       July 15, 2024          Plaintiffs’ Reply in Support of the Motion due
  5
       July 29, 2024          Hearing of the Motion
  6

  7           WHEREAS, the Parties believe that the requested continuance complies with
  8   the spirit of the directive of this Court’s Initial Standing Order, which states that
  9   “[c]ounsel should avoid submitting requests for a continuance fewer than seven
 10   calendar days prior to the earliest date subject to request,” because, although the
 11   opposition is due on July 1, 2024, the current hearing date is not until July 22,
 12   2024;
 13           THEREFORE, IT IS HEREBY STIPULATED, by and between the
 14   Parties, that the hearing on Plaintiffs’ Motion for a Preliminary Injunction shall be
 15   continued to July 29, 2024.
 16           THE PARTIES FURTHER STIPULATE, that Defendants’ opposition to
 17   the Motion is due on July 8, 2024 and Plaintiffs’ reply in support of their Motion is
 18   due on July 15, 2024.
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                                                                      PARTIES’ STIPULATION TO
                                                 4                   CONTINUANCE OF HEARING
                                                                      CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 51 Filed 06/27/24 Page 5 of 6 Page ID #:714



  1    Dated: June 27, 2024           Respectfully submitted,
  2
                                      By:        /s/ Matthew R. Cowan
  3                                             MATTHEW R. COWAN
                                                Attorney for Defendants The Regents of
  4                                             the University of California; Michael V.
                                                Drake; Gene D. Block; Darnell Hunt;
  5                                             Michael Beck; Monroe Gorden, Jr.;
                                                and Rick Braziel
  6

  7

  8                                              /s/ ERIC C. RASSBACH
  9                                             ERIC C. RASSBACH
                                                Attorney for Plaintiffs Yitzchok
 10                                             Frankel; Joshua Ghayoum; and Eden
                                                Shemuelian
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                                                                  PARTIES’ STIPULATION TO
                                            5                    CONTINUANCE OF HEARING
                                                                  CASE NO. 2:24-CV-4702-MCS
Case 2:24-cv-04702-MCS-PD Document 51 Filed 06/27/24 Page 6 of 6 Page ID #:715



  1                            SIGNATURE ATTESTATION
  2         Pursuant to Local Rule 5-4.3.4, I hereby attest that the other signature listed,
  3   on whose behalf the filing is submitted, concur in the filing’s content and have
  4   authorized the filing.
  5

  6
       Dated: June 27, 2024               Respectfully submitted,
  7

  8                                       By:        /s/ Matthew R. Cowan
                                                    MATTHEW R. COWAN
  9                                                 Attorney for Defendants The Regents of
                                                    the University of California; Michael V.
 10                                                 Drake; Gene D. Block; Darnell Hunt;
                                                    Michael Beck; Monroe Gorden, Jr.;
 11                                                 and Rick Braziel
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                                                                      PARTIES’ STIPULATION TO
                                                6                    CONTINUANCE OF HEARING
                                                                      CASE NO. 2:24-CV-4702-MCS
